Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 1 of 11

 

   
 
 

 

 

 

 

 

 

 

 

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SOUTHERN DISTRICT oF NEW YORK ` _ ~:
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IN RE APPLICATION oF FURSTENBERG
FINANCE SAS AND MARC BATAILLON MEMORANDUM OPINION

 

& ORDER

 

JOHN G. KOELTL, District Judge:

The movant, Dr. Jean-Michel Paul, seeks reconsideration of
this Court's Memorandum Opinion and Order dated July 12, 2018,
which granted discovery from twelve banks located in New York
County pursuant to 28 U.S.C. § 1782 for use against the movant
in a contemplated criminal proceeding in Luxembourg. ln_re

Furstenberg Fin. SAS, No. lec44, 2018 WL 3392882 (S.D.N.Y. July

 

12, 20l8). The movant contends that reconsideration is
warranted, and alleges that the Court misapplied the legal
standard to determine whether a foreign proceeding is “within
reasonable contemplation.” The movant also contends that the
Court ignored the movant’s request for reciprocal discovery, and

therefore renews that request here.1

 

1 The movant also sought a protective order limiting the applicants’
use of the information they receive pursuant to the Court's July 12,
2018, Opinion and Order. The parties both agree that this issue is now
moot because the parties entered into a confidentiality agreement on
August 22, 2018. Dkt. No. 53. The request for a protective order is
therefore denied without prejudice as moot.

 

Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 2 of 11

I.

The original applicants for discovery were at one time or
currently are investors in Acheron Portfolio Corporation
Luxembourg S.A. (“Acheron”). The applicants allege that the
movant, Dr. Jean-Michel Paul, a director of Acheron, failed to
disclose properly his ownership interest in Litai, a company
with which theron did business. The applicants sought discovery
under 28 U.S.C. § 1782 to aid them in pursuing a case in
Luxembourg against Paul on the basis of this alleged conflict of
interest.

The applicants first sought discovery from Litai pursuant
to § 1782 in the Southern District of Florida. The district

court granted that petition. In re Furstenberg Fin. SAS, No.

 

16mc60266, 2016 WL 10707012 (S.D. Fla. July 26, 2016). That
decision was affirmed by the Eleventh Circuit Court of Appeals.

fn re Application of Furstenberg Fin. SAS, 877 F.3d 1031 (1lth

 

Cir. 2017}. In July 2017, due to some apparent difficulty
enforcing the subpoena against Litai to obtain the requested
discovery, the applicants filed a second motion to compel. The

motion was granted by the district court. In re Furstenberg Fin.

 

SAS, No. 16mc60266, 2017 WL 6560357 (S.D. Fla. 0ct. 31, 2017).
The Court also awarded the applicants attorneys’ fees. Id. at
*9. In December 2017, the applicants filed a third motion to

compel and a motion for sanctions. That motion was also granted

2

 

 

Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 3 of 11

by the district court. ln re Furstenberg Fin. SAS,

 

No. 16mc60266, 2018 WL 735676 (S.D. Fla. Jan. 30, 2018). By
order dated June 8, 2018, the District Court denied Litai's
motion for reconsideration. Dkt. No. 42. Also on June 8, the
applicants filed their fourth motion to compel and for contempt
against Litai in the Florida proceeding. Litai asserts that they
have produced all documents responsive to the Florida subpoenas
and fully complied with all of their obligations thereunder.
Dkt. No. 38 TI 2-4.

The applicants then requested discovery under § 1782 in
this Court to obtain wire transfer records where a Discovery
Target2 is listed as the originator or the beneficiary, or is
otherwise referenced in the wire transfer. Dkt. No. 33 at 1-2.
The applicants asserted that they intend to file a criminal
complaint in Luxembourg based on the movant’s undisclosed
conflict of interest arising from his involvement with both
Acheron and Litai.

The Court granted the discovery application in the Opinion
and Order dated July 12, 2018. The movant seeks reconsideration

of that decision.

 

2 The discovery targets are: dean~Michei Paul, Carlo Toller, Anh Bui,
Litai Assets LLC, Vespera Life LLC, Wiking Assets LLC, Nordland Assets
LLC, Neptune Assets LLC, Lifelong lnsnrance LLC, Lifelong Global
Insurance LLC, Litai Property Management LLC, Horo Holdings S.A.,
Alpcap PTE LTD, Tomson PTE LTD, Hopewell Asset, Hopewell SARL, and
Life Settlement Assets PLC (together, the “Discovery Targets”).

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Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 4 of 11

II.
Reconsideration of a previous Opinion of the Court is an
“extraordinary remedy to be employed sparingly in the interests
of finality and conservation of scarce judicial resources.” 13

re Beacon Assocs. Litig., 818 F. Supp. 2d 697, 701 (S.D.N.Y.

 

2011) (internal quotation marks and citation omitted). To
succeed on a motion for reconsideration, the movant carries a
heavy burden. The movant must show either “an intervening change
of controlling law, the availability of new evidence, or the
need to correct a clear error or prevent manifest injustice.”

Doe v. N.Y.C. Dept. of Soc. Servs., 709 F.2d 782, 789 (2d Cir.

 

1983). “The decision to grant or deny a motion for
reconsideration rests within the sound discretion of the

district court.” Vincent v. Money Store, No, 03cv2876, 2014 WL

 

1673375, at *1 (S.D.N.Y. April 28, 2014) (internal quotation
marks and citation omitted).
III.

The movant requests that the Court reconsider its decision
to allow the applicants to seek discovery from twelve banks in
this District in connection with the contemplated criminal
proceeding against the movant in Luxembourg and argues that the
Court committed clear error in granting the application. The

movant also asks this Court to grant his request for reciprocal

 

 

Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 5 of 11

discovery because the Court allegedly did not address the
request in the original Opinion and Order.
A.

There are three statutory requirements that an applicant
must meet in order to obtain discovery under 28 U.S.C. § 1782.
First, the person from whom discovery is sought must reside or
be found in the district of the district court where the
application is made; second, the discovery must be for use in a
proceeding before a foreign tribunal; and third, the application
must be made by the foreign tribunal or “any interested

person.” Schmitz v. Bernstein Liebhard & Lifshitz, LLP, 376 F.3d

 

79, 83 (2d Cir. 2004) (internal quotation marks and citation

omitted); see also In re Application of 000 Promnefstroy for an

 

'Order to Conduct Discovery for Use in a Foreign Proceeding, No.

 

M 19-99(RJS}, 2009 WL 3335608, at *4 (S.D.N.Y. Oct. 15, 2009).
Once these statutory requirements are met,r the district court
has “wide discretion” whether to issue discovery orders pursuant

to § l782(a). See Application of Esses, 101 F.3d 873, 876 (2d

 

`Cir. 1996).

The movant contends that the Court clearly erred in finding
that the second requirement was satisfied. To satisfy the second
requirement -- that the discovery be sought for use in a foreign
proceeding M- “the planned proceedings must be within reasonable

contemplation.” Certain Funds, Accounts and/or Inv. Vehicles v.

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Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 6 of 11

KPMG, L.L.P., 798 F.3d 113, 123 (2d Cir. 2015},7§§§:§, 788 F.3d
113 (2d Cir. 2015). The movant acknowledges that the Court
articulated the proper standard for making this inquiry, but
contends that the Court committed clear error in applying that
standard to determine whether a foreign proceeding was “within
reasonable contemplation” at the time the application was made.
For all of the reasons that the Court originally
articulated, the Court correctly found that the foreign
proceeding was “within reasonable contemplation.” This is the
same conclusion that was reached by the District Court in the

Southern District of Florida, In re Furstenberg Fin. SAS, 2016

 

WL 1070712, at *4-7, which was in turn affirmed by the Court of

Appeals for the Eleventh Circuit, Appiication of Furstenberg

 

Fin. SAS, 877 F.3d at 1034-35. The applicants carried their
burden of showing that a foreign proceeding is within reasonable
contemplation by filing declarations swearing that they intend
to file a criminal complaint against the movant, and
articulating a specific legal theory on which they intend to

rely. ln re Furstenberg Fin. SAS, 2018 WL 3392882, at *4. The

 

Second Circuit Court of Appeals has held such findings to be
sufficient to show that a foreign proceeding is reasonably

contemplated. See In re Hornbeam Corp., 722 F. App’X 7, 9~10 (2d

 

Cir. 2018) (summary order) (holding that a foreign proceeding

was reasonably contemplated where the applicant “represented

6

 

 

Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 7 of 11

that it intended to initiate further litigation,” and
“articulated a theory on which it intended to litigate.”).

The movant argues that because the applicants have delayed
the initiation of the foreign proceedings, the foreign
proceedings are therefore not within reasonable contemplation.
However, as this Court noted previously, that delay was caused
in part by obstruction the applicants faced in the Florida
proceedings, which resulted in the applicants filing three
motions to compel production, as well as a motion for sanctions.
ld; at *2. The motions to compel and the motion for sanctions

were granted. In re Furstenberg Fin. SAS, 2018 WL 735676, at *4-

 

5. Currently, there is a fourth motion to compel pending. §ee
Dkt. No. 55. That the applicants faced such obstruction is not a
basis for denying their discovery request. There was no error in
the Court's decision, much less “clear error.” Qge, 709 F.2d at
789.
B.

With respect to the argument that the Court erred by not
ruling specifically on his request for reciprocal discovery, the
movant is mistaken. The Court denied all other requests not

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specifically addressed as “moot or without merit. In re

Furstenberg Fin. SAS, 2018 WL 3392882, at *8. That ruling

 

assuredly included the movant's request for reciprocal

discovery.

 

Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 8 of 11

The movant’s original request for reciprocal discovery was
a cursory, single-sentence request that sought to require the
applicants to produce information without any detailed
description of the specific information sought. lt is only now,
in this motion for reconsideration, that the movant has added a
“First Request for the Production of Documents” from Marc
Bataillon and Furstenberg Finance SAS. Mem. EX. B. The request
allegedly seeks documents to uncover the applicants’ motivations
for pursuing discovery in the Florida proceedings and in this
proceeding. The document request seeks, among other items,
“[c]ommunications and documents regarding any communications to
the directors or officers of Acheron, and any other person or
entity regarding the Florida Proceeding.” §§; at 5.

To the extent the movant raises new arguments, those
arguments are not properly before the Court. The movant’s
expanded justification for discovery and specific request for
documents are not properly part of a motion for reconsideration.
They were not presented with the original opposition to the
application under § 1782 and therefore the Court could not have
overlooked them. “A motion for reconsideration should not
relitigate issues already resolved by the court and should not
be used ‘to put forward additional arguments which the movant
could have made, but neglected to make before judgment.’”

Goldstein v. State of N.Y., No. 00cv7463, 2001 WL 893867

 

 

Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 9 of 11

(S.D.N.Y. Aug. 7, 2001), aff;d, 34 F. App’X 17 (2d Cir. 2002)
(citation omitted).

The original request for reciprocal discovery was properly
denied because it was insufficiently supported. The denial of
such request was not erroneous or contrary to law. The movant
made no attempt in the original request to make the requisite
showing under § 1782, and indeed, on this motion, the movant
admits that its discovery targets ~" Marc Bataillon and
Furstenberg Finance SAS -e are not located within this District.3
Further, the movant's request for reciprocal discovery is
antithetical to his argument that there is no foreign proceeding
in reasonable contemplation. To obtain reciprocal discovery
under § 1782, the movant would have to agree that there is a
foreign proceeding within reasonable contemplation.4 For these

reasonsr the movant did not meet the statutory requirements to

 

3 The movant relies on Application of Consorcio Minero, S.A. v. Renco
Group, lnc., No. 11mc354, 2012 WL 1059916 (S.D.N.Y. Mar. 28, 2012), to
argue that the fact that the applicants are not located in this
District actually favors the movant’s discovery request. In that case,
the discovery target was not located in any United States district,
and there was no other process by which the applicant could have
obtained the requested discovery. 1§; at *4. The movant has not shown
that his discovery targets are not located in any district of the
United States, nor has he sufficiently shown that § 1782 provides the
only process by which he can obtain such discovery. Moreover, in
stating the legal standard, the movant admits that the discovery
targets must be located in this District. Mem. at 3.

4 The movant also argues that there is a separate foreign proceeding
already pending in Luxembourg against the applicants for abuse of
process. To the extent that the movant seeks discovery for that
separate proceeding, that discovery is not “reciprocal” and would need
to be requested in a new § 1782 application.

9

 

Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 10 of 11

obtain reciprocal discovery under § 1782. §ee Schmitz,r 376 F.3d
at 83.

Moreover, however styled, the movant’s request could hardly
be viewed as a request for “reciprocal discovery.” The original
application for discovery sought discovery from twelve banks for
use in the reasonably contemplated criminal proceeding against
the movant in Luxembourg. The new discovery sought by the movant
is not discovery from the banks, and there is no showing that it
is usable in the reasonably contemplated criminal proceeding in
Luxembourg. Unlike the extensive materials that were presented
in the original application, there is no evidence that this type
of information would in fact be used in the criminal proceeding.
Because the movant is a third party with respect to the original
application, has not shown that the requested discovery would be
used in the reasonably contemplated criminal proceeding, and
seeks discovery from different targets, the movant stretches the
word “reciprocal” beyond its breaking point.

There was in short, no error in denying the application for

reciprocal discovery in this Court.

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Case 1:18-mc-OOO44-.]GK Document 56 Filed 09/26/18 Page 11 of 11

CONCLUS I ON
For the foregoing reasons, the motion for reconsideration
is denied.
SO ORDERED .
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Dated. New York, New York 3 . /’ A:G€é§?§
september 26, 2018 //§¥<1 ts' el ,

5 eg§ohn G. Koeitl
Unitéd States District Judge

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